 Case 1:15-cv-00348-RC Document 55 Filed 11/29/17 Page 1 of 1 PageID #: 1102



                           ** NOT FOR PRINTED PUBLICATION **

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

KRYPTEK OUTDOOR GROUP, LLC                        §
                                                  §
       Plaintiff,                                 §
                                                  §     CIVIL ACTION No. 1:15-cv-348
v.                                                §
                                                  §     JUDGE RON CLARK
SALT ARMOUR, INC.,                                §
ALPHA DEFENSE, INC., AND                          §     PRD
THOMAS J. DE SERNIA,                              §
                                                  §
       Defendants.                                §


                                    ORDER OF DISMISSAL

       The parties have filed a Joint Stipulation for Dismissal with Prejudice (Dkt. # 54), stating

that the parties have settled the issues raised in this case out of court. The parties jointly seek to

vacate the Final Judgment and Permanent Injunction (Dkt. # 23) in this case and dismiss the claims,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

       It is THEREFORE ORDERED that the case is DISMISSED WITH PREJUDICE.

       It is FURTHER ORDERED that the Final Judgment and Permanent Injunction, dated

March 26, 2016 (Dkt. # 23), is hereby VACATED.

       It is FURTHER ORDERED that this court retains jurisdiction to enforce the terms of the

Confidential Settlement Agreement.

       The Clerk is directed to CLOSE this case.

          So ORDERED and SIGNED this 29 day of November, 2017.




                                                         ___________________________________
                                                         Ron Clark, United States District Judge
